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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF MARYLAND
                                        (Greenbelt Division)


In re:                                                      *

WARNER CONSTRUCTION                                         *             Case No: 20-12861-LSS
CONSULTANTS, INC.                                                                  (Chapter 11)
                                                            *
         Debtor
                                                           *
         *         *        *        *        *        *        *        *        *        *        *           *

              DEBTOR’S POST-CONFIRMATION REPORT THROUGH JUNE 2022
                              (LOCAL RULE 3022-1(d))
Warner Construction Consultants, Inc.
Progress Report 1 through June 2022
September 12, 2022

                                         Payments Made under the Plan

On July 23, 2022, the Court confirmed the Chapter 11 Subchapter V Plan of Reorganization (the
“Plan”) [Dkt. # 96] for Warner Construction Consultants, Inc. (“Warner”). Warner has made
payment in full under its Plan to its secured and priority creditors and on account of all
administrative claims. On or about December 13, 2021, Warner received a payment of
$181,469.65 less an $80.00 fee from Capital Bank for the net amount of $181,389.65, with
respect to the refund of taxes from the Canadian government that is described in Section 4.3 of
its confirmed Plan of Reorganization.

Secured Creditors (Class 1 & 2)

Warner has paid:

         1.         Line of Credit with Citibank in full in the amount of $116,808.801 ($105,737.40
                    from the Canadian tax refund described in Section 4.3 of the Plan).
         2.         BMW Financial Services has been paid in full in the amount of $2,772.84.2

Priority Claims

Warner has paid priority creditors in full. Warner has paid:

         1.         Montgomery County for past due property taxes in full in the amount of
                    $7,234.47 ($4,234.47 from the Canadian tax refund).

         2.         The State of California for past due Franchise Taxes in full in the amount of
                    $1,640.73 (from Canadian tax refund).




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              Third party guarantors also made payments to Citibank; its secured claim has been paid in full.
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Unsecured Creditors (Class 3 & 4)

Warner has paid one unsecured creditor, its prior landlord Brandywine Realty Trust, in the
amount of $37,974.02 (from the Canadian tax refund).

Administrative Claims

Warner has paid its administrative priority claims in full.

         1.      Plan Trustee Michael Wolff was paid in full in the amount of $7,199.60
                 ($5,759.60 from the Canadian tax refund)

         2.      Counsel to the Debtor, Yumkas, Vidmar, Sweeney & Mulrenin, LLC, received
                 Plan payments of $26,123.43 (from the Canadian tax refund).

Total Plan Distributions: In total, Warner has made $199,753.89 of Plan payments to its
creditors (not including payments to secured creditor BMW).
                             Debtor’s Post-Confirmation Operations

Warner’s reorganization filing in early 2020 was soon followed by a new large project that alone
promised to generate an additional $50,000 of revenue per month for several months, and slight
less monthly revenue through the end of 2020. With its other existing work, Warner was poised
to start its reorganization plan in great shape. This new project was in the Federal Government’s
General Services Headquarters Building in Washington DC. Our work was for a Government
Contractor that performed primarily janitorial, cafeteria and other staffing services in Federal and
Local Government facilities, in additional to limited General Construction work. In the 3rd week
of March, work was stopped on the project as a result of the emerging COVID pandemic. This
quickly reduced the revenue on this project and, soon thereafter, our client stopped paying us due
to COVID’s substantial effect on the rest of their business as a result of Local and the Federal
Government closing their facilities. We stopped work on the project soon thereafter. COVID’s
effects on the rest of our work was similarly substantial. As a result, we further cut costs
following the ongoing cuts leading up to our reorganization filing, including laying off
employees. We obtained an EIDL loan that supported our operations for a portion of COVID.
We receive a tax refund from the Canadian government that was paid out in full to our creditors
in accordance with our plan. Through this period and to the current day we continue to get new
work and new clients but the business is not making any net available income for unsecured
creditors. Warner anticipates generating net disposable income prior to the expiration of its plan
payments, such that unsecured creditors will receive a distribution prior to the termination of the
plan periods.



                                                             /s/ Catherine Keller Hopkin
                                                      Catherine Keller Hopkin, 28257
                                                      Yumkas, Vidmar, Sweeney & Mulrenin, LLC
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                                                      Counsel for Debtor




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                                   CERTIFICATE OF SERVICE
                 I hereby certify that on the 13th day of September 2022, notice of filing the
Debtor’s Post-Confirmation Report through June 2022 was served by CM/ECF to those parties
listed on the docket as being entitled to such electronic notice, which parties are identified on the
attached service list.



                                                              /s/ Catherine Keller Hopkin
                                                       Catherine Keller Hopkin




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The following parties received
CM/ECF notice of the filing:



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(tjcloud@lerchearly.com)                Counsel for CitiBank, N.A.            Counsel for Debtor
Lerch, Early & Brewer, Chartered
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Lynn A. Kohen, Esquire                                                        Michael G. Wolff, Subchapter V Trustee
                                        US Trustee – Greenbelt                (trustee@wolawgroup.com)
(lynn.a.kohen@usdoj.gov)                (ustpregion04.gb.ecf@usdoj.gov)       Wolff & Orenstein, LLC
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